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 1 Michelle D. Spencer, 164696
   Attorney at Law
 2
   331 Soquel Ave., Suite 208
 3 Santa Cruz, CA 95062
   Tel: 831-426-9900
 4 Fax: 831-427-0674
   Attorney for Matthew Thompson
 5

 6
                                 IN THE UNITED STATES DISTRICT COURT
 7
                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8

 9                                                                           *E-FILED - 7/6/06*

10 UNITED STATES OF AMERICA,           )             No: CR06-00054-RMW
                        Plaintiff,     )
11                                     )
                                       )             STIPULATION AND []
12 v.                                  )             ORDER CONTINUING SENTENCING
13                                     )             HEARING
                                       )
14                                     )
   MATTHEW THOMPSON,                   )
15                         Defendant.  )
16 ____________________________________)

17
            This matter is scheduled for sentencing on Monday, July 17, 2006. Mr. Thompson’s
18

19 interview with United States Probation was conducted on June 12, 2006. Additional time is needed in

20 order for the Presentence Report to be completed and disclosed as required.

21          Plaintiff United States of America, by and through Assistant United States Attorney Mark
22
     Krotoski, and defendant Matthew Thompson, by and through attorney Michelle D. Spencer, hereby
23
     agree and stipulate that this matter be continued from July 17, 2006 at 9:00 a.m. to September 25,
24
      U.S. v. Thompson Stipulation & [] Order
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 1 2006 at 9:00 a.m. United States Probation Officer Lynn Richards is also available on September 25,

 2
     2006.
 3
     IT IS SO STIPULATED.
 4
                                     KEVIN V. RYAN
 5                                   United States Attorney
 6
     Dated:                          ___/s/_______________________
 7                                   MARK KROTOSKI
                                     Assistant United States Attorney
 8
     Dated:                          ____/s/________________________
 9
                                     MICHELLE D. SPENCER
10                                   Attorney for Matthew Thompson

11

12                                              [] ORDER
13
              Based upon the foregoing Stipulation, and good cause appearing therefor,
14
              IT IS HEREBY ORDERED that the sentencing hearing set for July 17, 2006 be continued to
15

16 September 25, 2006 at 9:00 a.m.

17            .

            7/6/06
18 Date: ______________                              /s/ Ronald M. Whyte
                                                    _______________________________________
                                                    HON. RONALD M. WHYTE
19
                                                    United States District Judge
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      U.S. v. Thompson Stipulation & [] Order
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     U.S. v. Thompson Stipulation & [] Order
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